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     Email: Warren@MarkowitzLawFirm.com
     on behalf of Plaintiff Gustavo Ramos,
 6   HDSP Inmate #91166
 7
                          UNITED STATES DISTRICT COURT
 8
                               DISTRICT OF NEVADA
 9

10   Gustavo Ramos
11
                         Plaintiff,                  CASE #: 2:19-CV-00124-RFB-VCF
12   vs.
                                                        STIPULATION TO EXTEND
13                                                    DISCOVERY DEADLINES, AND
     Clark County Detention Center, et al.
14                                                    FULFILLMENT. (Second Request)

15                       Defendant(s)
16

17         This is the second stipulated request for an extension to complete discovery.
18
     On February 24, 2020 this court granted the initial stipulated discovery plan, on
19

20   May 18, 2020 this court acknowledged a consented to a modification of the initial
21
     discovery plan due to the initial restrictions placed upon the people of the State of
22

23
     Nevada by the government due to the Covid-19 Pandemic. As of today the Covid-

24   19 Pandemic continues.
25
           With this continuation and the Plaintiff being currently incarcerated at the
26

27   Nevada High Desert State Prison, and the elimination of visits (see exhibit 1, http://
28



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 1   doc.nv.gov/Inmates/Visiting/Home/ ), until further notice, completing discovery,
 2
     interviews, depositions, and face-to-face contact being effectively eliminated, even
 3

 4   telephone calls are limited in nature, opportunity and time, we are forced to request
 5
     of this court, and for the benefit of justice, a second extension of time, and a
 6

 7   modification of related due dates in order to properly manage the matter.
 8         Therefore, the parties request that ninety (90) days be added to the amended
 9
     discovery dates, and that currently pending matters be granted the additional time,
10

11   in order for all sides to address their respective responsibilities.
12
           The prospective discovery deadlines and associated dates are as follows:
13

14         Amended Pleadings                             March 6, 2021
15         Initial Expert Disclosures                    March 7, 2021
16
           Rebuttal Expert Disclosures                   May 8, 2021
17
           Close of Discovery                            June 12, 2021
18

19         Dispositive Motions                           July 13, 2021
                                                       If dispositive motions are filed, the deadline
20          Joint Pretrial Order   August 13, 2021     for filing the joint pretrial order will be suspended until 30 days after
                                                       decision on the dispositive motions or further court order.

21         Due to the current state of events, the parties also agree to a ninety (90) day
22
     extension to respond to any outstanding discovery obligations in order to work
23

24   towards moving the matter forward.
25
           Additionally, the parties agree to the withdrawal/dismissal of currently filed
26

27
     Motions to Compel.

28



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 1        Jointly Submitted this Date September 22, 2020
 2

 3
     /s/ Warren R. Markowitz, Esq              /s/     Robert W Freeman
     Warren R. Markowitz (NVSBar #             Robert W Freeman , Jr.
 4   15166C/ NYS 4613220)                      Lewis Brisbois Bisgaard & Smith LLP
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 9   on behalf of Plaintiff Gustavo Ramos,     on behalf of LVMPD, Sheriff Joseph
     HDSP Inmate #91166                        Lombardo, and Lt. Michael Lusch
10

11
     /s/ Chad Couchot                          /s/ Stephanie A. Barker, Esq.
12   Chad Couchot                              Stephanie A Barker
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     Email: ccc@szs.com                        Email: sbarker@ocgas.com
17   on behalf of Naphcare, Inc.               on behalf of Yolanda King and Jeff
18                                             Wells
     //
19

20   //

21   //
22

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 1                                        ORDER
 2
           Based on the foregoing, it is hereby ordered, adjudged, and decreed, that the
 3

 4   proposed discovery dates are approved and adopted.
 5         IT IS SO ORDERED.
 6
           ___________________________________
 7

 8         UNITED STATES MAGISTRATE
 9
           JUDGE DATED: 10-2-2020
10

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